                       UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA



FARHAD AZIMA,

                              Plaintiff,
                                                     No. 1:20-cv-00954-WO-JLW
                        v.

NICHOLAS DEL ROSSO and VITAL
MANAGEMENT SERVICES, INC.,

                             Defendants.


  REPLY IN SUPPORT OF MOTION TO QUASH PLAINTIFF’S SUBPOENA

           NOW COME non-parties Christopher Swecker and Chris Swecker

Enterprises, LLC (“Swecker”), through undersigned counsel, pursuant to Rules 26

and 45 of the Federal Rules of Civil Procedure, and Local Rules 7.3(h) and 37.1, and

submit this brief in Reply to Plaintiff’s Response to Swecker’s Motion to Quash. [Doc.

172],

                                           ARGUMENT

           In Plaintiff’s Response brief, Plaintiff presents unfounded allegations of fact

  in complete disregard to the limited attorney-client relationship between Swecker and

  his clients, Del Rosso and Vital Management Services. [Swecker Affidavit, Ex. B].

  Instead, with no factual basis and with no cite or reference to any supporting document

  or evidence, Plaintiff’s brief improperly alleges that, “Swecker worked closely with

  Defendants and others-including Dechert-to obtain Plaintiff’s stolen data. Based on

  Swecker’s alleged role in this matter, Plaintiff served Swecker with a narrowly tailored

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subpoena for documents related to his engagement by VMS.” [Doc. 172, p. 2].

         These allegations are drawn from thin air. The Complaint contains no such

allegation against Swecker. In fact, the sole mention of Swecker in the Complaint

is a single sentence that acknowledges his role as an attorney. “Del Rosso hired

Chris Swecker, a North Carolina-based lawyer, to assist Defendants in their work

for Gerrard and Dechert LLP.” [Doc. 1, ¶ 13]. Moreover, the allegations of the

remaining two counts of the Complaint contain no reference to Swecker at all.

[Doc. 1, Counts Eight and Ten].

         The subpoena issued by Plaintiff to Swecker is motivated by Plaintiff’s

failure to secure discovery from Defendants.      Plaintiff’s brief states this fact

directly. “Moreover, given that Defendants have refused to produce any documents

in their files relevant to any issues at all, including Swecker’s representation,

Swecker cannot simply outsource his disclosure responsibilities to Defendants.”

[Doc. 172, p. 5].

         In support of this “outsource” theory, Plaintiff cites EEOC v, New Hanover

Reg’l Med. Ctr., No. 09-CV-00085, 2010 WL 4668957, at *2 (E.D.N.C. Nov. 9,

2010. However, in EEOC v, New Hanover, the EEOC as Plaintiff sought damages

for emotional distress, among other damages, for a complainant to EEOC. Id. at

*1. As Plaintiff, the EEOC moved to quash a subpoena issued by the defendant to a

third-party medical provider who had treated the complainant. Id. The third-party

medical provider raised no objection to the subpoena. Id. at *6.    The Court held

that Defendant was entitled to explore the claimant’s complaints of emotional

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distress damages by exploring her medical records, limited to a period of two years

prior to the incident that might have caused such damage. Id. at *9-10.

         The facts here are vastly different.     As the third party affected and

burdened by the breadth of the subpoena, as well as the attorney-client and attorney

work product privileges implicated, Swecker moved to quash the subpoena based

upon the numerous grounds set forth in the Memorandum in Support of the Motion

to Quash. [Doc. 151]. In denying Plaintiff’s previous attempt to issue similar

third-party subpoenas prior to the Rule 26(f) Conference, this Court noted that

Plaintiff’s subpoenas “are broad in scope,” requesting “all documents and

communications” relating to the Plaintiff, Defendants, and numerous other

individuals and entities over a seven-year period. [Doc. 30, p. 3].           “These

subpoenas are not narrowly tailored enough for this factor to weigh in favor of

Plaintiff.” Id.

         In fact, Plaintiff’s subpoena to Swecker is even broader, requesting “all

documents and communications” or “all communications” with or related to

approximately 17 other persons or entities, all non-parties to the litigation, over an

eight-year time period. (Doc. 151, Ex. A].        The subpoena issued by Plaintiff

imposes an undue burden on Swecker that is disproportionate to the needs of

Plaintiff in this case.

                                  CONCLUSION

         For the reasons set forth herein and in the previous Memorandum, Swecker

respectfully requests that the Court quash the subpoena as overbroad and unduly

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burdensome.



       Respectfully submitted this 27th day of February, 2023.

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                          CERTIFICATE OF SERVICE

     I hereby certify that on the 27th day of February, 2023, I caused a copy of the

foregoing document to be served via e-mail through the Court’s ECF notification system

upon the following:

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                          WORD COUNT CERTIFICATION

Pursuant to Local Rule 7.3(d)(1), I hereby certify, subject to Fed. R. Civ. P. 11 that the

accompanying memorandum does not exceed the 6,250-word limitation according to the

word count feature of the word processing system used to prepare the memorandum.

      Respectfully submitted this the 27th day of February, 2023.



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